                          1   Michael H. Meyer (CA SBN 82336)
                              Brent D. Meyer (CA SBN 266152)
                          2   MEYER LAW GROUP LLP
                              268 Bush Street #3639
                          3   San Francisco, CA 94104
                              Phone: (415) 765-1588
                          4   Fax: (415) 762-5277
                              (michael@meyerllp.com)
                          5   (brent@meyerllp.com)
                          6
                              Attorneys for Debtor
                          7   KEVIN VICTOR MONTAGUE
                          8
                                                        UNITED STATES BANKRUPTCY COURT
                          9
                                                        NORTHERN DISTRICT OF CALIFORNIA
                     10
                                                               SAN FRANCISCO DIVISION
                     11
                     12       In re                                              BK Case No.: 18-30096-DM
                     13
                              KEVIN VICTOR MONTAGUE,                             Chapter 13
                     14
                                             Debtor.                             CERTIFICATE OF SERVICE
                     15
                     16
                     17
                                      I, Brent D. Meyer, hereby declare as follows:
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                                     I am an active member of the State Bar of California and I am not a party to the above-
                     19
                              captioned action; my business mailing address is 268 Bush Street #3639, San Francisco,
                     20       California, 94104.

                     21               On July 10, 2018, I served copies of the following document(s):
                     22               MOTION TO REQUIRE SECURED CREDITOR TO PAY ATTORNEY’S
                     23               FEES AND COSTS

                     24               DECLARATION OF COUNSEL BRENT D. MEYER IN SUPPORT
                                      OF MOTION TO REQUIRE SECURED CREDITOR TO PAY
                     25               ATTORNEY’S FEES AND COSTS
                     26
                                      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO
                     27               REQUIRE SECURED CREDITOR TO PAY ATTORNEY’S FEE AND COSTS
                     28


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  268 BUSH STREET #3639
 SAN FRANCISCO CA 94104       CERTIFICATE OF SERVICE
                 Case: 18-30096            Doc# 33-4     Filed: 07/10/18    Entered: 07/10/18 15:10:21      Page 1 of
                                                                      3
                                     NOTICE OF HEARING ON MOTION TO REQUIRE SECURED CREDITOR
                          1
                                     TO PAY ATTORNEY’S FEES AND COSTS
                          2
                              in the following manner on the parties listed below:
                          3
                                     BY FEDERAL EXPRESS: I enclosed said document(s) in an envelope or package
                          4          provided by Federal Express and addressed to the persons at the address(es) listed below.
                          5          I placed the envelope or package for collection and overnight delivery at an office or a
                                     regularly utilized drop box of Federal Express or delivered such document(s) to a courier
                          6          or driver authorized by Federal Express to receive documents.
                          7
                                     BY FIRST CLASS MAIL: Pursuant to Federal Rule of Bankruptcy Procedure 7004(b),
                          8          I enclosed said document(s) in a sealed envelope addressed to the persons at the
                                     address(es) listed below, placed first class postage fully prepaid thereon, and deposited
                          9          said envelope in a United States mailbox.
                     10
                                     CHAMBER’S COPIES
                     11              Phillip Burton Federal Building
                                     United States Bankruptcy Court
                     12              Attn: Judge Dennis Montali
                     13              450 Golden Gate Avenue, 18th Floor
                                     San Francisco, California 94102
                     14
                                     BY CERTIFIED MAIL: Pursuant to Federal Rule of Bankruptcy Procedure 7004(h), I
                     15              enclosed said document(s) in a sealed envelope addressed to the persons at the
                     16              address(es) listed below, transported said envelope to a United States Post Office, placed
                                     first class postage fully prepaid thereon with certified and return receipt requested, and
                     17              deposited said envelope with an agent of the United States Postal Service. The Certified
                                     Mail Receipt Number for each party served with the document(s) is as specified below.
                     18
                     19              SECURED CREDITOR                            SECURED CREDITOR
                                     U.S. Bank, N.A.                             Wilmington Savings Fund Society, FSB
                     20              Attn: Andrew Cecere, CEO                    Attn: Mark A. Turner, CEO
                                     425 Walnut Street                           500 Delaware Avenue
                     21              Cincinnati, Ohio 45202                      Wilmington, Deleware 19801
                     22
                                     [Address on FDIC Website Under              [Address on FDIC Website Under
                     23              the “Bank Find” Function]                   the “Bank Find” Function]
                     24              CERTIFIED MAIL NUMBER:                      CERTIFIED MAIL NUMBER:
                     25              7014 2120 0001 1838 9096                    7014 2120 0001 1838 9102

                     26              BY NOTICE OF ELECTRONIC FILING (NEF): Pursuant to Bankruptcy Local Rule
                                     9013-3(c), service of the document(s) was also effective on the following persons whom
                     27
                                     are registered participants of the Court’s CM/ECF system, consented to electronic
                     28              service, and received an electronic copy of the document(s) by the Clerk of the Court via
                                     Notice of Electronic Filing.

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                                                                      3
                                      CHAPTER 13 TRUSTEE                         UNITED STATES TRUSTEE
                          1
                                      David Burchard                             Office of the U.S. Trustee / SF
                          2           TESTECF@burchardtrustee.com,               USTPRegion17.SF.ECF@usdoj.gov,
                                      dburchard13@ecf.epiqsystems.com            ltroxas@hotmail.com
                          3
                                      SECURED CREDITOR COUNSEL                   SECURED CREDITOR COUNSEL
                          4
                                      Kristin A. Zilberstein                     Michelle R. Ghidotti-Gonsalves
                          5           kzilberstein@ghidottilaw.com,              mghidotti@ghidottilaw.com,
                                      ecfnotifications@ghidottilaw.com           ECFNotifications@ghidottilaw.com
                          6
                          7
                                     I declare under penalty of perjury under the laws of the United States of America that the
                          8   forgoing is true and correct.
                          9          Executed on July 10, 2018 at San Francisco, California.
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                                                                                     /s/ BRENT D. MEYER
                     12                                                             Brent D. Meyer
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